Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 1 of 34

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ALABAMA

CHATOM MOTOR COMPANY, INC.
individually and on behalf of all others
similarly situated,

Plaintiff,

FCA US, LLC:

FIAT CHRYSLER AUT()MOBILES, N.V.
ROBERT BOSCH GMBH,

and

)
)
)
)
)
§
v. ) Civil Action No. CV-17-00120
)
)
)
§
Robert Bosch LLC, )

)

)

Defendants.

CLASS ACTION COMPLAINT

Plaintiff , CHATOM MOTGR COMPANY, INC., for itself and all others similarly
situated, brings this action against Fiat Chrysler Autornobiles N.V., FCA US LLC, Robert
Bosch GmbH, and Robert Bosch LLC (collectively, ”Defendants”) and alleges the following:

INTRODUCTION

l. FCA US LLC is a Wholly-owned subsidiary of Fiat Chrysler Automobiles N.V.
(collectively, these two defendants are referred to herein as "FCA”). Robert Bosch LLC is a
Wholly-owned subsidiary of Robert Bosch GmbH (collectively, these two defendants are
referred to herein as ”Bosch"). From at least 2007 to the present, FCA has manufactured and
sold cars in the United States. Many vehicles manufactured by FCA have engines designed
and / or manufactured by Bosch, including the EcoDiesel versions of vehicles like the Dodge
Ram 1500 and ]eep Grand Cherokee.

2. ln an effort to appeal to environmentally-conscious consumers, FCA markets its
”EcoDiesel” line of vehicles as ”clean diesel." FCA advertises that its ”EcoDiesel" vehicles

have many environmentally-friendly qualities, including ultra-low emissions, high fuel

 

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 2 of 34

efficiency, powerful torque, and high towing capacity. Consumers relied on these
representations in deciding whether to purchase or lease FCA's EcoDiesel vehicles Similarly,
dealerships including Plaintiff, Chatom Motor Company, Inc., relied on FCA and Bosch's
false representations in deciding whether to purchase the ”EcoDiesel” line of vehicles or
accept the vehicles as trade-ins for their dealership, as well as whether to sell those vehicles to
their customers

3. FCA charges a considerable price premium for its EcoDiesel vehicles Por
example, the Manufacturers Suggested Retail Price (”MSRP") for a new 2016 ]eep Grand
Cherokee Lirnited with the standard engine is $38,560.l Adding the EcoDiesel option
increases the MSRP by $4,500 to 11343,060.2 Similarly, the MSRP for the standard model 2016
Ram 1500 Crew Cab SLT is $38,575,3 but increases by $4,270 to $43,345 when the EcoDiesel
engine is added.4

4. lt was recently revealed that rather than designing and manufacturing the
EcoDiesel vehicles with low emissions, high fuel economy, and powerful torque and towing
capacity as promised, FCA and Bosch instead devised software that makes the EcoDiesel
vehicles appear to function as advertised while under testing conditions FCA and Bosch
installed this software on various makes and models under the ”EcoDiesel” brand. The
software enabled the emissions control system when the vehicle was driving under emissions

testing conditions but disabled the emissions control system under normal driving

 

l 2016 Jeep Grand Cherokee Pricing, Kelley Blue book, https://Www.kbb.com/jeep/grand-cherokee/ZOl6/limited/?
vehicleid=4 l 5243&inteanuy-new&options: (last accessed March 13, 2017).

2 2016 Jeep Grand Cherokee Prz`cing (with EcoDiesel option selected), Kelley Blue book,
https:// Www.kbb.com/ j eep/ grand-cherokee/ 20 l 6/ limited/ ?vehicleid=4 l 5243&intent=buy-new&options=7039022 |true (last
accessed March 13, 2017).

3 2016 Ram 1500 Crew Cab Pricz`ng, Kelley Blue book, https://WWW.kbb.com/ram/l500-crew-cab/2016/Slt/?
Vehicleid=4 l 50 l 7&intent=buy-new&category:pickup&options: (last accessed March 13, 2017).

4 2016 Ram 1500 Crew Cab Prz`cing (With EcoDiesel option selected), Kelley Blue book,
https://Www.kbb.com/ram/l500~crew-cab/2016/slt/?vehicleid:415017&intent=buy-
new&category=pickup&options=7006 l 77Itrue (last accessed March 13, 2017).

 

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 3 of 34

conditions on roads and highways The software allows emissions levels to increase far above
allowable levels, especially while driving at a high speed or for an extended period of time.

5. The emissions control technology in these vehicles limits illegal emissions to
allowable levels under state and federal regulations by reducing the vehicle's performance
Rather than finding a way to improve performance while maintaining the emissions control
system, FCA and Bosch instead decided to hide the fact that the emissions control system
decreases vehicle performance To do so, they designed software that only switches on the full
emissions control system when the software detects that the vehicle is undergoing emissions
testing. When the vehicle is not undergoing emissions testing, the emissions control system is
automatically switched off. As a result, FCA’s vehicles achieve the high performance
promised, but produce several times the allowable standard for pollution

6. According to a Notice of Violation issued by the U.S. Environmental Protection
Agency (”EPA”), FCA and Bosch installed this software on at least the following EcoDiesel
models of its vehicles: Model Year 2014-2016 Dodge Ram 1500 and Model Year 2014-2016
]eep Grand Cherokee (collectively, the ”Affected Vehicles"). According to the Notice of
Violation, at least 100,000 Affected Vehicles were sold in the United States. EPA and other
investigations are ongoing, and additional models and model years may be added to this list

as new facts are discovered.
PARTIES

7 . Plaintiff, Chatom Motor Company, lnc. is a Chevrolet dealership located in
Chatom, Alabama. Plaintiff and class members (defined below) are automobile dealers that
acquired Affected Vehicles for the purpose of resale and had those vehicles in their inventory
on or after ]anuary 12, 2017. Plaintiff and class members have been unable to sell the vehicles
or have only been able to do so at a loss

8. PCA US LLC is a corporation doing business in every U.S. state and the District
of Columbia. FCA US LLC is organized under Delaware law, and its principal place of
business is 1000 Chrysler Drive, Auburn Hills, Michigan 48326. FCA US LLC is a wholly-
owned subsidiary of Fiat Chrysler Automobiles N.V.

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 4 of 34

9. Fiat Chrysler Automobiles N.V. is a foreign corporation lt is headquartered in
London, United Kingdom. Fiat Chrysler Automobiles N.V. is the parent company of FCA US
LLC. Fiat Chrysler Automobiles N.V. sells vehicles in the United States through its subsidiary
FCA US LLC. Fiat Chrysler Automobiles N.V., directly and / or through its United States
subsidiary FCA US LLC, at all material times designed, manufactured, and supplied
elements of the Affected Vehicles Fiat Chrysler Automobiles N.V. is subject to the personal
jurisdiction of this Court because it has availed itself of the laws of the United States through
its management and control over FCA US LLC, and over the design, development,
manufacture distribution, testing, and sale of hundreds of thousands of Affected Vehicles
sold or leased in the United States

10. Robert Bosch LLC is a corporation doing business in every U.S. state and the
District of Columbia. Robert Bosch LLC is organized under Delaware law, and its principal
place of business is 38000 l~lills Tech Drive, Farmington Hills, Michigan 48331. Robert Bosch
LLC is a wholly-owned subsidiary of Robert Bosch GmbH.

ll. Robert Bosch GmbH is a multinational engineering and electronics company
headquartered in Gerlingen, Germany. Robert Bosch GmbH, directly and / or through its
North-American subsidiary Robert Bosch LLC, at all material times, designed, manufactured,
and supplied elements of the defeat device to FCA for use in the Affected Vehicles Bosch
GmbH is subject to the personal jurisdiction of this Court because it has availed itself of the
laws of the United States through its management and control over Robert Bosch, LLC, and
over the design, development, manufacture distribution, testing, and sale of hundreds of
thousands of the defeat devices installed in the Affected Vehicles sold or leased in the U.S.

12. At all relevant times, FCA and Bosch manufactured, distributed, sold, leased,
and warranted the Affected Vehicles under the Dodge and ]eep brands throughout the
United States FCA, Bosch, and / or their agents designed the EcoDiesel engines and engine-
control systems in the vehicles, including the ”defeat device” software FCA and Bosch also
developed and distributed the ownersl manuals, warranty booklets, and other promotional

materials relating to the vehicles

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 5 of 34

TOLLING

l. F or the following reasons any otherwise applicable statutes of limitations have
been tolled by the discovery rule with respect to all claims

2. Plaintiff Chatom Motor Company, lnc. and members of the proposed class
could not have discovered that FCA and Bosch were concealing and misrepresenting the true
emissions levels or FCA and Bosch's use of ”defeat devices” through the exercise of
reasonable diligence

3. FCA and Bosch's deception with respect to their ”EcoDiesel" engine-control
systems and the included ”defeat devices” was concealed from consumers dealers and
regulators The EPA initially discovered FCA and Bosch's ” defeat device” software when the
Volkswagen investigation prompted the EPA to expand vehicle testing to look for other
defeat devices The EPA has reported that FCA failed to disclose this software to regulators

4. Plaintiff and other class members could not have reasonably discovered, and
did not know of facts that would have caused a reasonable person to suspect, that FCA and
Bosch intentionally concealed this information from federal and state authorities dealers and
consumers Additionally, a reasonable and diligent investigation could not have revealed
FCA and Bosch's deception, which was discovered by Plaintiff Chatom Motor Company, Inc.,
immediately before this action was filed.

5. Plaintiff’s claims are also tolled due to FCA and Bosch's fraudulent
concealment

6. Instead of disclosing its deception, FCA and Bosch falsely represented to federal
and state authorities dealers and consumers that its vehicles complied with applicable
federal and state emissions standards and that FCA and Bosch was reputable manufacturers
whose representations could be trusted FCA and Bosch knowingly, actively, and
fraudulently concealed and denied the facts alleged in this Complaint.

7. Plaintiff’s claims are also tolled by the doctrine of estoppel. FCA and Bosch were

under a continuous duty to disclose to Plaintiff Chatom Motor Company, Inc. and the other

 

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 6 of 34

class members the relevant facts that they knew about the ”defeat devices” vehicle emissions
and the vehicles' failure to comply with federal and state laws

8. Although FCA and Bosch had a duty throughout the relevant time period to
disclose to Plaintiff Chatom Motor Company, lnc. and class members that it had engaged in
the deception described in this complaint, FCA and Bosch instead chose to evade federal and
state emissions and clean air standards With respect to the Affected Vehicles FCA and Bosch
also intentionally misrepresented their lack of compliance with these standards as well as
laws regulating vehicle emissions and clean air. Thus FCA and Bosch are estopped from
relying on any statutes of limitations in defense of this action.

]URISDICTION

9. This Court has jurisdiction over this action pursuant to the Class Action Fairness
Act (”CAFA"), 28 U.S.C. § 1332(d). At least one class member (Plaintiff, Chatom Motor
Company, Inc.) is of diverse citizenship from Defendants there are more than 100 class
members and the aggregate amount in controversy exceeds $5 million, before interest and
costs

10. The Court also has personal jurisdiction over Defendants under 18 U.S.C. § 1965
because they are found or have agents or transact business in this District.

ll. The court also has jurisdiction pursuant to 28 U.S.C. § 1331 upon 18 U.S.C.

§ 1964.

12. The court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

13. This Court may exercise personal jurisdiction over FCA because FCA has
sufficient minimum contacts in Alabama and purposefully avails itself of the markets in
Alabama by conducting business throughout the state, including advertising marketing,
leasing, sale, and distribution of its vehicles to and through Alabama. ln part because of the
conduct alleged in this Complaint, Affected Vehicles ended up with both consumers and
dealers in the state of Alabama.

14. This Court may exercise personal jurisdiction over Bosch because Bosch has

sufficient minimum contacts in Alabama and purposefully avails itself of the markets in

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 7 of 34

Alabama by conducting business throughout the state, including advertising, marketing
leasing, sale, and distribution of its vehicles to and through Alabama. In part because of the
conduct alleged in this Complaint, Affected Vehicles ended up with both consumers and
dealers in the state of Alabama.

15. Venue is proper in this district and division under 28 U.S.C. § 1391 (b) because a
substantial part of FCA’s acts and omissions giving rise to the allegations in this Complaint
occurred in this District. FCA and Bosch advertised, marketed, leased, sold, and distributed
their vehicles to and through Alabama. ln part because of the conduct alleged in this
Complaint, Affected Vehicles ended up with both consumers and dealers in the state of

, Alabama.
FACTS

16. FCA and Bosch intentionally designed their EcoDiesel vehicles to evade
emissions standards To hide this fact, FCA and Bosch misled dealers consumers and
regulators about the amount of pollution its EcoDiesel vehicles created and their fuel
efficiency. White touting themselves as an environmentally-conscious companies that
produced cars for consumers who care about the environment, FCA and Bosch designed,
produced, and sold expensive cars that produced pollution at many times the level allowed
by federal and state regulations FCA and Bosch then intentionally and knowingly concealed

the truth about those cars from regulators and consumers
A. FCA and Bosch touted their ”EcoDiesel” vehicles as fuel-efficient and
environmentally-friendly.

17. FCA and Bosch have advertised their EcoDiesel vehicles as low-emission, fuel-
efficient vehicles for years For example, FCA’s marketing of its EcoDiesel ]eep vehicles
includes a leaf and green coloring of the word ”Diesel" in its logo, which contributes to the

environmentally-friendly image:5

 

5 EcoDiesel, ]eep.com, http:/ / www.jeep.com/ en/jeep-capabilities/ eeo-diesel-
calculator/ (accessed on March 4, 2017).

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 8 of 34

 

The overarching theme in FCA’s EcoDiesel marketing is the promise of a clean and
environmentally-friendly diesel vehicle6

18. FCA and Bosch's success in marketing the EcoDiesel vehicles is based in largely
on their promotion of the ”clean” and ”green” characteristics of these vehicles Each of the
Affected Vehicles includes the phrase ”EcoDiesel” in its name

19. FCA’s EcoDiesel marketing and advertising specifically targets consumers ”who
want to drive an efficient, environmentally-friendly truck without sacrificing capability or
performance.”7 Marketing of the EcoDiesel vehicles touts their l'reduced C02 emissions"8 and
notes that the EcoDiesel engine ”offers innovative technology that is efficient, increases range

and improved power - all While leaving little trace of being there.”9

 

6 See, e.g., The 2014 Ram 1500 with EcoDiesel Engine, Available Soon at a Dealer Near You,
Ram Zone (”The Official Blog of Ram Trucks” operated by FCA US LLC) (]uly 16, 2013),
https:/ / blog.ramtrucks. com/ features / the-2014-ram-1500-with-ecodiesel-engine-available-
soon-at-a-dealer-near-you/ ("The 2014 Ram 1500 features an available 3.0L EcoDiesel V6
engine - for consumers who want to drive an efficient, environmentally friendly truck
without sacrificing capability or performance") (]uly 16, 2013).

7 171€ 2014 Ram 1500 with EcoDz`esel Engine, szz'lable Soon at a Dealer Near You, Ram Zone
(”The Official Blog of Ram Trucks" operated by FCA US LLC) (]uly 16, 2013),

https:/ / blog.ramtrucks. com/ features / the-2014-ram-1500-with-ecodiesel-engine-available-
soon-at-a-dealer-near-you/ (”The 2014 Ram 1500 features an available 3.0L EcoDiesel V6
engine-for consumers who want to drive an efficient, environmentally friendly truck
without sacrificing capability or performance") (]uly 16, 2013).

8 EcoDz`sesel Ram 1500 HFE, RamTrucks.com, http:/ / www.ramtrucks.com
/ en/ ecodiesel/ (accessed on March 4, 2017).

9 EcoDz`esel, ]eep.com, http:/ / www.jeep.com/ en/jeep-capabilities/ eco-diesel-
calculator/ (accessed on March 4, 2017).

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 9 of 34

20. FCA also touts its concern with sustainability and pollution and holds itself out
as a protector of the environment ln its 2015 Sustainability Report, FCA stated: ”FCA
believes that effective, long-lasting results to address climate change can only be achieved
through the combined efforts of government, energy producers manufacturers consumers
academia and the financial community."10 The report goes on to note that FCA has signed
several agreements related to preventing climate change, including the CEO Climate
Leadership for Automotive Declaration and the Charter of Milan.“

21. FCA has also promised that its EcoDiesel vehicles provide exceptional fuel
economy. According to FCA, for example, the 2014 Ram 1500 EcoDiesel ”delivers an
outstanding combination of best-in~class fuel efficiency 28 miles per gallon."]2 Similarly, FCA
represents that the 2015 ]eep Grand Cherokee EcoDiesel ”delivers a best-in-class 30 miles per
gallon” fuel efficiency.13

22. ln addition to environmentally friendly and fuel efficient, FCA also advertised
its ”EcoDiesel” vehicles as high-performance Certain performance metrics, including torque

and towing capacity, are particularly important factors for truck and SUV consumers

 

10 Fz`at Chrysler’s 2015 Sustainability Report, FCAGroup.com, http:/ /reports.fcagroup.
com/ sustainability / 2015 / our-business-and-responsibilities / our-responsibilities / fighting-
climate-change#start (accessed on March 4, 2017).

11 Id.

12 2014 Ram 1500 EcoDz`esel Orders Top More 171¢111 8,000 Units in Three Days, Filling Initial
Allocation, FCANorthAmerica.com, http:/ /media.fcanorthamerica.com/newsrelease.do?
id=15368&mid=&searchresult (accessed l\/Iarch 4, 2017).

13 ]eep® Grand Cherokee EcoDz'esel Named 2015 Green SUV of the YearTM by Green Car
]0urnal, FCA North America, http:/ / media.fcanorthamerica.com/newsrelease.do?
id=16306&mid=&searchresult (accessed March 4, 2017).

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 10 of 34

23. For example, FCA claims that the 2014 Ram 1500 EcoDiesel delivers
”unsurpassed torque and up to 9,200 pounds of towing capability."“‘ FCA similarly claims
that the 2015 ]eep Grand Cherokee EcoDiesel has ”towing capability of 7,400 pounds.”15

24. Because of the purported performance environmental, and fuel-efficient
qualities FCA promoted in its EcoDiesel vehicles in 2015 the Ram 1500 EcoDiesel was named
the 2015 Green Truck of the Year by Green Car ]ournal.16 Green Car ]ournal considers
l’environmental attributes alongside traditional touchstones that define what makes a great
pickup, such as functionality, versatility, safety, value and style.”17 Upon receiving this
award, the President and CEO of Ram Truck Brand Bob Hegbloom said ”The Ram 1500
EcoDiesel is an incredible success for Ram Truck and part of the brand’s long term strategy to
design and engineer the best trucks you can buy with fuel economy and capability top of
mind.”18 The ]eep Grand Cherokee EcoDiesel was similarly named Green Car ]ournal's 2015

Green SUV of the Year based on FCA’s representations19

 

14 2014 Ram 1500 EcoDiesel Orders Top More Tban 8,000 Units in 171ree Days, Filling Im'tial
Allocation, FCANorthAmerica.com, http:/ / media.fcanorthamerica.com/ newsrelease. do?
id=15368&mid=&:searchresult (accessed March 4, 2017).

15 ]eep® Grand Cherokee EcoDiesel Named 2015 Green SUV of the YearTM by Green Car
journal, FCA North America, http:/ /media.fcanorthamerica.com/newsrelease.do?
id=16306&mid=&searchresult (accessed March 4, 2017).

16 Ram 1500 EcoDiesel Named 2015 Green Truck of the YearTM by Green Car ]0urnal, FCA
North America, http:/ / media.fcanorthamerica.com/newsrelease.do?id=16175& mid=464
(accessed March 4, 2017).

17 Id.
18 Id.

19 ]eep® Grand Cherokee EcoDiesel Named 2015 Green SUV of the YearTM by Green Car
lournal, FCA North America, http:/ / media.fcanorthamerica.com/ newsrelease.do?
id=16306&mid=&searchresult (accessed March 4, 201I.

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 11 of 34

B. FCA and Bosch designed software to cheat emissions tests

25. Modern vehicle engines feature sophisticated computer components to manage
the vehicle’s operation In diesel vehicles this includes a component called the electronic
diesel control (”EDC”) that manages diesel emissions Bosch was responsible for testing
manufacturing and selling the EDC system used by FCA in the Affected Vehicles

26. Bosch and FCA worked together to create unique specifications and software
code for the emissions control system to manage the vehicles’ engine operation Bosch
controlled development of the Affected Vehicles’ emissions control units and actively
participated in the development of the defeat device

27 . This emissions control system was developed by Bosch and FCA for use in the
Affected Vehicles to evade emissions standards Bosch and FCA designed and implemented a
specific set of software algorithms for the Affected Vehicles that would allow FCA to adjust
fuel consumption levels exhaust, air pressure and even urea injection rates based on the
detected driving conditions

28. When vehicles are tested for compliance with EPA emission standards the
manufacturer places the vehicle on large rollers called dynamometers. The vehicle then
performs a specific series of maneuvers dictated by federal regulations

29. The emissions control software gave FCA the ability to detect emissions testing
conditions by monitoring steering wheel position, duration of operation, barometric pressure,
and acceleration When the software detects that the vehicle is on a dynamometer and that
these inputs have registered at the levels or positions used for EPA emissions testing the
vehicle’s software downgrades the engine’s power and performance and runs the full
emissions control systems to produce emissions results that meet EPA standards

30. When the software detected that the emission testing was complete, the EDC
software then switched to a different calibration that caused the engine to return to full
performance while reducing the performance of the emissions control systems As a result,

the vehicle was then allowed to emit illegal amounts of emissions during regular operation

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 12 of 34

on the road. ln other words when the vehicle is not being tested, the software runs a different

system that reduces and ”defeats” the effectiveness of the emission control system.

C. FCA and Bosch intentionally concealed the excessive and illegal levels of
emissions emitted from the Affected Vehicles

3 ]. Although FCA advertised its EcoDiesel vehicles as meeting emissions standards
and providing superior fuel economy while also offering high performance FCA and Bosch
did not, in fact, design a vehicle that had these desirable attributes lnstead, FCA and Bosch
created a software device to hide the excessive and illegal levels of emissions of the Affected
Vehicles This software is illegal.

32. The Clean Air Act has strict emissions standards for vehicles lt requires that
vehicle manufacturers certify to the EPA that their vehicles sold in the U.S. meet the federal
emissions standards to control air pollution Each vehicle sold in the U.S. must obtain an EPA
certificate of conformity or ”CCC.”

33. The Clean Air Act prohibits defeat devices Under the Act, a ” defeat device” is
defined as any auxiliary emission control device ”that reduces the effectiveness of the
emission control system under conditions which may reasonably be expected to be
encountered in normal vehicle operation and use.” 40 C.F.R. § 86.1803-01; see also id. § 86.1809-
10 (”No new light-duty vehicle light-duty truck, medium-duty passenger vehicle or
complete heavy-duty vehicle shall be equipped With a defeat device.”). The Clean Air Act
also prohibits the sale of components that can be used as defeat devices ”where the person
knows or should know that such part or component is being offered for sale or installed for
such use or put to such use.” 42 U.S.C. § 7522(a)(3).

34. To obtain a COC from the EPA, vehicle manufacturers must submit an
application with a list of all auxiliary emission control devices installed in the vehicle the
justification for each, and an explanation of why the device is not a defeat device

35. In order to obtain the COCs necessary to sell the Affected Vehicles FCA and

Bosch did not disclose - and, in fact, affirmatively concealed -the software code that it

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 13 of 34

developed with Bosch to detect testing conditions and alter vehicle performance ln essence
FCA and Bosch lied to the government, customers dealers and the public at large about the
Affected Vehicles’ emission control systems

36. Because FCA and Bosch fraudulently obtained the COCs, and because the
Affected Vehicles did not comply l'in all material respects" to the COC application
specifications the Affected Vehicles were never covered by a valid COC. Accordingly, the
Affected Vehicles were never legal for sale nor were they EPA compliant, as FCA and Bosch
represented. FCA and Bosch concealed these facts from the EPA, other regulators (like the
California Air Resources Board, or ”CARB”), its dealers and consumers and the public at
large Additionally, FCA continued to sell and lease the Affected Vehicles despite their
illegality, with the complicity of Bosch.

37. By manufacturing and selling cars with ” defeat devices” that allowed higher
emissions levels than it represented to the EPA, FCA violated the Clean Air Act, defrauded its
consumers and dealers and engaged in unfair competition under state and federal law.

38. FCA’s illegal software workaround was made possible by its close partnership
with Bosch, which received a substantial portion of its revenue from manufacturing parts
used in FCA’s and other carmakers' diesel vehicles Bosch was not only aware that FCA used
Bosch's emissions control components as a defeat device -- Bosch worked with FCA to
develop the software code specifically designed for the Affected Vehicles

39. This deception was revealed on january 12, 2017 when the EPA issued a Notice
of Violation (”Notice") to FCA. (Exhibit A) This Notice explains that FCA has created and
installed sophisticated software in the Affected Vehicles sold by PCA in the United State. The
Notice goes on to describe how this software caused the Affected Vehicles to perform
differently when the vehicle is being tested for emissions compliance than during normal
operation and use The Notice states that this software may be a ”defeat device” as defined by
the Clean Air Act.

40. In addition to the EPA Notice of Violation, the FCA defendants have also

received subpoenas from U.S. federal and state authorities including the Securities Exchange

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 14 of 34

Commission, related to the ”defeat device” software The U.S. Department of ]ustice is also

investigating the matter on a referral from the EPA.
D. FCA and Bosch profited from FCA's diesel vehicles while causing substantial
harm to Plaintiff and class members

41. FCA charged a substantial premium for its EcoDiesel vehicles as compared to
non-diesel vehicles For example opting for the EcoDiesel engine for the 2016 ]eep Grand
Cherokee Limited adds $4,500 to the l\/ISRP.20 Similarly, selecting this option for the 2016 Ram
1500 Crew Cab SLT increases MRSP by $4,270.21 FCA charged these and similar price
premiums for all vehicles containing ” defeat devices” By charging these fraudulent price
premiums FCA was unjustly enriched.

42. FCA and Bosch's illegal scheme duped thousands of U.S. consumers into buying
Affected Vehicles that should never have been on the market, at a cost of billions of dollars
Similarly, vehicle dealers like Plaintiff and the other class members were duped into
acquiring the Affected Vehicles through purchase and trade-ins for the purpose of resale to
equally unwitting customers Automobile dealers like Plaintiff and the class members were
willing to pay a premium for these vehicles because of FCA's vehicles’ popularity with
American consumers - in particular, the popularity of the affected vehicles

43. Even if FCA and Bosch recall the Affected Vehicles and repairs them to disable
the ”defeat device” so that the vehicles comply with EPA emissions standards at all times
purchasers of these Vehicles (including both consumers and reseller dealers) have and will
continue to suffer substantial harm.

44. First, FCA and Bosch are not able to make the Affected Vehicles comply With

emissions standards without substantially reducing their performance characteristics

 

20 2016 Jeep Grand Cherokee Pricing (With EcoDiesel option selected), Kelley Blue book,
https:// www.kbb.com/ j eep/ grand-cherokee/ 20 1 6/limited/?vehicleid=41 5243 &intent:buy-new&options=7039022 jtrue (last
accessed March 13, 2017).

21 2016 Ram 1500 Crew Cab Pricing (with EcoDiesel option selected), Kelley Blue book,
https://Www.kbb.com/ram/l500-crew-cab/20l6/slt/?vehicleid=415017&inteanuy-
new&category:pickup&options=7006l77|true (last accessed March 13, 2017).

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 15 of 34

including their horsepower, torque towing capacity, and fuel efficiency. Presumably, if FCA
and Bosch could have designed a low-emission and high performance vehicle as advertised,
they would have done so without engaging in the massive fraudulent scheme that has now
been exposed. As a result, even if FCA and Bosch are able to make the vehicles in class
members’ inventory EPA-compliant through recalls and repairs Plaintiff and class members
will nonetheless suffer actual harm and damages because the vehicles will no longer perform
as they did when purchased and as advertised

45. Second, FCA and Bosch's deception and the subsequent recall repairs will
diminish the value of every Affected Vehicle Plaintiff and other class members each overpaid
for cars that are now worth substantially less Whether FCA and Bosch are able to remedy the
emissions problems through recalls and repairs or not, Plaintiff and class members will be
forced to list and sell the affected vehicles for substantially less than if the vehicles worked as
initially promised This will result in lost profits to each class member. Additionally, the class
members may be unable to resell these vehicles at all.

46. Third, Plaintiff and other class members have encountered or will encounter
additional costs associated with keeping unsold (and virtually unsellable) Affected Vehicles
in their inventory, including transportation costs registration and licensing maintenance
and other costs and fees

47. Had Plaintiff Chatom Motor Company, lnc. and the other class members known
of the ” defeat device” at the time they acquired these vehicles with the intent to resell them,
they would not have purchased the vehicles for resale or would have paid substantially less
for the vehicles than they actually did

48. Moreover, when and if FCA and Bosch recall the vehicles and downgrade the
EcoDiesel engine performance in order to make the vehicles compliant with EPA emissions
standards Plaintiff Chatom Motor Company, lnc. and the other class members will suffer lost
profits because they will be required to resell the vehicles for a substantially lower price if

they are able to resell the vehicles at all.

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 16 of 34

49. As a result of FCA and Bosch's unfair, deceptive and fraudulent business
practices and their failure to disclose that their EcoDiesel vehicles emit many times the
allowable emissions levels under normal driving conditions reseller dealers of the vehicles
have suffered substantial losses Affected Vehicles will necessarily be worth less in the used
marketplace because of their decrease in performance and efficiency, which means that
resellers will be unable to recover nearly as much value when reselling these vehicles or will
be unable to resell the vehicles and will be forced to incur the costs of keeping and

maintaining the vehicles
E. Plaintiff, Chatom Motor Company, Inc. and all other similarly situated
persons have been damaged and will continue to be damaged by FCA and Bosch's
conduct.

50. Plaintiff Chatom Motor Company, Inc., a citizen of Alabama, purchased a
preowned 2015 Ram 1500 EcoDiesel from Ally SmartAuction for $31,775. Plaintiff Chatom
Motor Company, lnc. also paid a $665 transportation fee associated with this purchase

51. Plaintiff Chatom Motor Company, lnc. would not have purchased this 2015 Ram
1500 EcoDiesel at auction at all, or would have paid substantially less to purchase it, had it
been aware of the defeat device

52. lf recalled, Chatom Motor Company, lnc. Will suffer lost profits because Chatom
Motor Company, Inc. will be required to resell the 2015 Ram 1500 EcoDiesel at a much lower
price if Chatom Motor Company, lnc. is able to resell the vehicle at all.

CLASS ACTION ALLEGATIONS

53. Plaintiff Chatom Motor Company, lnc. brings this action on behalf of itself and

as a class action under Federal Rules of Civil Procedure 23(a), (b) (2), and (b)(3), on behalf of

the following class:
All automobile dealers in the United States with one or more
previously owned ”EcoDiesel" vehicle in inventory on or after
]anuary 12, 2017. These vehicles include but are not necessarily
limited to, Model Year 2014-2016 Dodge Ram 1500 and Model
Year 2014-2016 ]eep Grand Cherokee.

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 17 of 34

Excluded from the class are the FCA and Bosch Defendants their subsidiaries affiliates
employees legal representatives and officers all persons who make a timely election to be
excluded from the (b)(3) class; automobile dealerships affiliated with defendants FCA and
Bosch; governmental entities; any District, Magistrate or Appellate judge to whom this case is
assigned and his / her immediate family and judicial staff; and any attorney representing
Plaintiff in this action Plaintiff reserves the right to revise the class definition based upon
information learned through discovery.

54. Certification of Plaintiff’s claims for class-wide treatment is appropriate because
Plaintiff can prove the elements of its claims on a class-wide basis using the same evidence as
would be used in individual actions alleging the same claims

55. This action has been brought and may be properly maintained on behalf of the
class proposed herein under Federal Rule of Civil Procedure 23 and satisfies the numerosity,
commonality, typicality, adequacy, predominance and superiority requirements of its
provisions

Class Certification Requirements

56. Namerosity: Federal Rule of Cz'vil Procedure 23(a) (1). The class members are so
numerous and geographically dispersed that individual joinder of all class members is
impracticable Approximately 100,000 Affected Vehicles were sold in the U.S. between 2013
and 2017. The precise number of class members can only be ascertained through discovery,
but the number is great enough that joinder is impracticable On information and belief,
hundreds if not thousands of class members exist. The court and all parties will benefit
substantially from a single lawsuit that addresses all of the class members’ claims in this case
Class members will be easily identifiable from information and records in FCA and Bosch's
possession, custody, or control,' from state vehicle registration records; or from other third
parties Class members may be notified of this action by recognized court-approved methods
of dissemination which may include U.S. mail, electronic mail, lnternet postings, and / or

published notice

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 18 of 34

57.

Commonality and Predominance: Federal Rale of Ciz)z`l Procedare 23(a) (2) and 23(b) (3).

Common questions of law and fact in this case predominate over questions affecting

individual class members Common factual and legal questions include but are not limited

to:

(a)
(b)

(C)

(d)

(€)

(f)
(s)

(h)
(i)

(1`)

(1<)

(1)

whether FCA and / or Bosch engaged in the conduct alleged herein;

whether FCA and / or Bosch designed, advertised, marketed, distributed, leased,
sold, or otherwise placed vehicles with ”defeat devices” into the stream of
commerce in the United States;

whether the Affected Vehicles contain a ”defeat device” designed to allow the
vehicle to pass emissions tests but to violate emissions standards at other times;

whether FCA and / or Bosch knew or should have known about the ”defeat
device” and, if so, how long FCA and / or Bosch have known or should have
known,'

whether the true nature of the Affected Vehicles’ performance emissions levels
fuel economy, and the inclusion of the defeat device constitute material facts
that reasonable consumers and / or reseller dealers would have considered in
deciding whether to purchase a Affected Vehicle and how much to pay for said
vehicle;

whether FCA and / or Bosch concealed the ”defeat device”,'

whether FCA and / or Bosch made material misrepresentations about the
Affected Vehicles;

whether FCA and / or Bosch omitted material facts about the Affected Vehicles,'

whether FCA and / or Bosch had a duty to disclose the true nature of the
Affected Vehicles to regulators and / or to Plaintiff and class members

whether Defendants' concealment of the true nature of the Affected Vehicles
would have induced a reasonable consumer to act to their detriment by
purchasing and / or leasing the Affected Vehicles;

whether Defendants' concealment of the true nature of the Affected Vehicles
would have induced a reasonable reseller dealer to act to their detriment by
purchasing or acquiring the Affected Vehicles for resale;

whether any recall or repair will cause the Affected Vehicles to decrease in
value decrease in performance or require higher fuel consumption;

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 19 of 34

(m) whether the Affected Vehicles can be made to comply with EPA and state
emission standards Without substantially reducing their performance and / or
fuel efficiency;

(n) whether Bosch supplied the ”defeat device” to FCA with the knowledge that
FCA would use it in production and manufacturing of the Affected Vehicles;

(o) whether Bosch acted in concert with FCA and / or aided and abetted FCA’s
fraud;

(p) whether Defendants' conduct violated RICO, fraud, warranty, and negligence
laws among others laws as alleged herein;

(q) whether Plaintiff and the other class members overpaid for the Affected
Vehicles;

(r) whether Plaintiff and the other class members are entitled to equitable relief,
including but not limited to, restitution or injunctive relief;

(s) whether Plaintiff and the other class members are entitled to a declaratory
judgment; and

(t) whether Plaintiff and the other class members are entitled to damages and / or
other monetary relief and, if so, in what amount.

58. Typicality: Federal Rale of Cir)il Procedare 23(a) (3). Plaintiff’s claims are typical of
the other class members’ claims because all class members were comparably injured through
FCA and Bosch's wrongful conduct as described in detail above Like Plaintiff Chatom Motor
Company, lnc., all class members acquired an FCA vehicle designed, manufactured,
marketed, and distributed by FCA and Bosch with a ”defeat device” installed Plaintiff and
other class members purchased preowned Affected Vehicles from consumers and / or at
auctions or accepted the preowned Affected Vehicles from consumers as trade-ins Like the
Plaintiff, all class members have been damaged by FCA and Bosch's actions and will incur
costs and loss of profits relating to the Affected Vehicles and the inclusion of the ”defeat
device” The factual bases of these claims are common to all class members

59. Adeqaacy: Fealeral Rale of Cim'l Procedure 23(a) (4). Plaintiff Chatom Motor
Company, lnc. is an adequate class representative because its interests do not conflict with the

interests of the other members of the class it seeks to represent Plaintiff Chatom Motor

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 20 of 34

Company, lnc. has retained counsel who are competent and experienced in complex class
action litigation Moreover, Plaintiff Chatom Motor Company, lnc. intends to prosecute this
action vigorously. Plaintiff Chatom Motor Company, lnc., and its counsel, will fairly and
adequately protect the class's interests in this case

60. Declaratory and ln]`anctiz)e Relief: Federal Rule of Ciz)z'l Procedare 23(1))(2). FCA and
Bosch have acted or refused to act on grounds generally applicable to Plaintiff Chatom Motor
Company, lnc. and the other members of the class Accordingly, final injunctive relief and
declaratory relief, as described below, is appropriate with respect to the class as a whole

61. Saperiorz`ty: Federal Rale of Ci?)z`l Procedare 23(b)(3). A class action is superior to
any other available means for the fair and efficient adjudication of this case No unusual
difficulties are likely to arise in the management of this class action The damages that
Plaintiff and the other class members suffered are relatively small compared to the burden
and expense required to litigate their claims individually against FCA and Bosch.
Accordingly, it would be impracticable for class members to seek redress individually from
FCA and Bosch for their wrongful conduct

62. Even if class members could afford the relatively high cost of individual
litigation the court system could not. lndividual litigation creates the potential for
inconsistent or contradictory judgments lt also increases the delay and expense to all parties
and the court system, By comparison a class-action presents far fewer management
difficulties and provides the benefits of single adjudication economy of scale and
comprehensive supervision by a single court.

63. Moreover, separate individual actions create the risk of different courts
imposing different and incompatible standards of conduct on FCA and Bosch, This creates
needless duplication and prolonged proceedings and is inappropriate because common legal
and factual questions predominate over individual questions

CAUSES OF ACTION
COUNT I

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 21 of 34

Violation of the Racketeer Influenced and Corrupt Organizations Act (”RICO”) (Against
All Defendants)
18 U.S.C. § 1962(c)

64. Plaintiff incorporates by reference all preceding allegations as though fully set
forth herein

65. Fiat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and Robert
Bosch LLC are each a ”person” under 18 U.S.C. § 1961 (3) because they are capable of holding
and do hold, ”a legal or beneficial interest in property."

66. FCA and Bosch violated 18 U.S.C. § 1962(c) by participating in or conducting the
affairs of the FCA RICO Enterprise through a pattern of racketeering activity.

67 . Plaintiff and class members are ”person[s] injured in his or her business or
property" by reason of FCA and Bosch's violation of the federal RICO statute within the
meaning of 18 U.S.C. § 1964(c).

68. For many years the Defendants actively sought to increase their sales of the
Affected Vehicles (and their components) in an effort to boost their revenues and profits as
well as to increase their market share of the diesel vehicle segment Presumably finding it
impossible to achieve these goals lawfully, however, the Defendants resorted to cheating
through their fraudulent ”defeat device” conspiracy.

69. The Defendants along with other entities and individuals were employed by or
associated with, and conducted or participated in the affairs of, one or several RICO
enterprises whose purpose was to deceive regulators consumers dealers and the public at
large into believing that the Affected Vehicles complied with emission standards and were
”clean” and environmentally friendly in order to increase revenues and minimize losses from
the design, manufacture distribution and sale of the Affected Vehicles and the installed
defeat devices As a direct and proximate result of Defendants' fraudulent scheme and
common course of conduct, Defendants obtained billions of dollars of revenue from Plaintiff
and the class members As explained in detail below, the Defendants' misconduct violated

Sections 1962(c) and (d).

70.

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 22 of 34

The FCA RICO Enterprise

Upon information and belief, the following persons and entities and others

currently unknown have been members of and constitute an ”association-in-fact enterprise”

under the meaning of RICO (collectively, ”the FCA RICO Enterprise"):

(a)

(b)

(d)

71.

Fiat Chrysler Automobiles N.V., PCA US LLC, Robert Bosch GmbH, and Robert
Bosch LLC, who designed, manufactured, advertised, and sold over one
hundred thousand vehicles with defeat devices knowing that the vehicles
contained the defeat devices the scope and nature of which they concealed
from and misrepresented to the public, consumers dealers and regulators for
years'

Fiat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and Robert
Bosch LLC's Officers and Executives, who have collaborated and colluded with
each other and With other associates in the FCA RICO Enterprise to deceive
Plaintiff and class members into purchasing or otherwise acquiring defective
vehicles and actively concealing the illegal defeat devices from Plaintiff and
class members regulators consumers and the general public,'

Piat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and Robert
Bosch LLC's Engineers, who designed the defeat device software and
collaborated and colluded with each other and with other associates in fact in
the FCA RICO Enterprise to deceive Plaintiff and class members into
purchasing defective vehicles and actively concealing the illegal defeat devices
from Plaintiff and class members regulators consumers and the general public;
and

Other third-party persons and entities that knowingly assisted FCA and Bosch's
development, testing and production of the hardware and software that
functioned as the defeat device

The FCA RlCO Enterprise engaged in both interstate and foreign commerce

and its unlawful activities affected both interstate and foreign commerce The FCA RICO

Enterprise is an association-in-fact of individuals and corporate entities within the meaning of

18 U.S.C. § 1961(4), consisting of ”persons” associated together for a common purpose The

FCA RICO Enterprise had an ongoing organization with an ascertainable structure and

functioned as a continuing unit with separate roles and responsibilities

72.

While Fiat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and

Robert Bosch LLC’s, and other members of the FCA RICO Enterprise participated in the

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 23 of 34

conduct of the FCA RICO Enterprise they each had an existence separate and distinct from
the FCA RICO Enterprise

73. At all relevant times Defendants operated controlled or managed the FCA
RICO Enterprise through a variety of actions The participation of Fiat Chrysler Automobiles
N.V., FCA US LLC, Robert Bosch GmbH, and Robert Bosch LLC, and others in the FCA RICO
Enterprise was necessary for the successful operation of the Defendants' defeat device scheme
because Fiat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and Robert
Bosch LLC, and other members of the FCA RICO Enterprise manufactured the Affected
Vehicles and their components concealed the nature and scope of the defeat devices or
profited from their concealment.

74. The FCA RICO Enterprise’s members all served a common purpose - to sell as
many Affected Vehicles containing defeat devices as possible maximizing the revenue and
profitability of the FCA RICO Enterprise’s members The PCA RICO Enterprise's members
shared the benefits generated by the enterprise by sharing the profits derived from increased
sales revenue generated by the defeat device scheme

75. Each member of the FCA RICO Enterprise including the Fiat Chrysler
Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and Robert Bosch LLC, benefited from
this common purpose Fiat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH,
and Robert Bosch LLC, and others sold more defeat device vehicles than they would have
otherwise sold if the scope and nature of the defeat devices had not been concealed Fiat
Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and Robert Bosch LLC also
sold or leased those vehicles at a much higher price as a result of the concealment of the
defeat devices from Plaintiff and class members regulators consumers and the general
public.

Pattern of Racketeering Activity

76. Fiat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, Robert
Bosch LLC, and other members of the FCA RICO Enterprise conducted and participated in
the conduct of the affairs of the FCA RICO Enterprise through a pattern of racketeering

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 24 of 34

activity that consists of numerous and repeated violations of the federal mail and wire fraud
statutes These statutes prohibit the use of any interstate or foreign mail or wire facility for the
purpose of executing a scheme to defraud in violation of 18 U.S.C. §§ 1341 and 1343.

77. For FCA and Bosch, the purpose of the defeat device scheme was to conceal the
scope and nature of the illegal defeat devices installed in over one hundred thousand
Affected Vehicles in order to sell more vehicles to sell them at a higher price and / or for a
higher profit, and to avoid the expenses associated with repairing the defects By concealing
the illegal defeat devices installed in the Affected Vehicles FCA and Bosch also maintained
and boosted consumer and reseller confidence in the EcoDiesel technology, and avoided
recall and repair costs and negative publicity, all of which furthered the scheme to defraud
and helped FCA and Bosch sell more Affected Vehicles than they otherwise would have sold,
and to sell these vehicles at a much higher price or for a higher profit,

7 8. As described above FCA and Bosch were fully aware of the defeat devices but
intentionally subjected Plaintiff and class members as well as consumers to the defeat
devices to maximize their own profits Additionally, since the defeat devices became known
Fiat Chrysler Automobiles N.V., FCA US LLC, Robert Bosch GmbH, and Robert Bosch LLC
have failed to adequately remedy the defect.

79. To further their scheme to defraud FCA and Bosch misrepresented and
concealed the defeat devices from federal regulators enabling FCA and Bosch to escape the
investigation and costs associated with recalls and repairs

80. To further their scheme to defraud FCA and Bosch promoted and touted the
quality and performance of the Affected Vehicles while simultaneously concealing the nature
and scope of the defeat devices

81. To carry out, or attempt to carry out, their scheme to defraud FCA and Bosch
have conducted the affairs of the FCA RICO Enterprise through the following pattern of
racketeering activity that employed the mail and wire facilities in violation of 18 U.S.C. §

' 1341 (mail fraud) and § 1343 (wire fraud):
a. FCA and Bosch devised and furthered the scheme to defraud by use of the mail,
telephone and internet, and transmitted or caused to be transmitted by means

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 25 of 34

of mail and wire communication travelling in interstate or foreign commerce
writing(s) and / or signal(s), including FCA and Bosch websites,
communications with the EPA and / or CARB, statements to the press and
communications with other members of the FCA RICO Enterprise as well as
advertisements and other communications to FCA and Bosch's customers
including Plaintiff and class members as well as consumers and the general
public. Given that each Affected Vehicle required a COC application to the EPA,
FCA and Bosch used the mail and Wires numerous times to submit the
fraudulent COC applications and

b. FCA and Bosch utilized the interstate and international mail and wires for the
purpose of obtaining money or property by means of the concealment,
omissions false pretense and misrepresentations described above

82. FCA and Bosch's pattern of racketeering activity in violation of the mail and
wire fraud statutes included transmitting or causing to be transmitted by means of mail and
wire communication traveling in interstate or foreign commerce between their offices in
Michigan or among the other numerous offices in the United States and internationally,
communications concerning the illegal defeat devices and COC application submissions to
the EPA for each model and year of the Affected Vehicles that failed to adequately disclose
describe or address all auxiliary emission control devices that were installed in the Affected
Vehicles FCA and Bosch's conduct in furtherance of this scheme was intentional Plaintiff
and class members as well as consumers were directly harmed as a result of Fiat Chrysler
Automobiles N.V., FCA US LLC, Robert Bosch Gmbl~l, and Robert Bosch LLC’s intentional
conduct. Plaintiff, class members consumers the general public, and federal regulators relied
on FCA and Bosch's material misrepresentations and omissions

83. FCA and Bosch engaged in a pattern of related and continuous predicate acts
beginning at least in 2013. The predicate acts constituted a variety of unlawful activities each
conducted with the common purpose of defrauding Plaintiff and class members consumers
regulators and the public at large and obtaining significant profits and revenues from

purchasers while providing consumers with Affected Vehicles with defeat devices installed

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 26 of 34

which are worth significantly less than the purchase price paid These Affected Vehicles were
then resold and passed on to Plaintiff and other class members at an inflated price These
predicate acts were related and were not isolated events

84. These predicate acts all had the purpose of generating significant revenue and
profits for FCA and Bosch at the expense of Plaintiff and class members as well as
consumers The predicate acts were committed or caused to be committed by FCA and Bosch
through their participation in the FCA RICO Enterprise and in furtherance of its fraudulent
scheme These acts Were interrelated in that they each involved wrongfully obtaining funds
from purchasers of the Affected Vehicles as well as avoiding the expenses associated with
recalling and repairing the defeat device defect.

85. As a result of FCA and Bosch's conduct, and in particular their pattern of
racketeering activity, Plaintiff and class members as well as consumers have been injured in

their business and / or property in numerous ways including but not limited to:
a. purchasing and offering for resale preowned vehicles with defeat devices that
Plaintiff and class members would not otherwise have purchased or offered for
resale;

b. diminished value of the vehicles with defeat devices purchased by Plaintiff and
class members which reduces the vehicles’ resale value,' and

c. additional costs associated with carrying and maintaining vehicles with defeat
devices that Plaintiff and class members are unable to resell to consumers
because of the defeat devices

86. FCA and Bosch's violations of 18 U.S.C. § 1962(c) have directly and proximately
caused injuries and damages to Plaintiff and class members Accordingly, Plaintiff and class
members are entitled to bring this action for three times their actual damages injunctive
and / or equitable relief, and costs and reasonable attorneys’ fees pursuant to 18 U.S.C.

§ 1964(€).
COUNT II

Fraud by Concealment (Against All Defendants)

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 27 of 34

87 . Plaintiff incorporates by reference all preceding allegations as though fully set
forth herein

88. FCA and Bosch intentionally designed the ”defeat device” to circumvent the
requirements of the Clean Air Act. FCA and Bosch falsely certified to the EPA that the
Affected Vehicles were in compliance with the EPA’s requirements At the same time FCA
and Bosch intentionally marketed and advertised the Affected Vehicles as ”green” ”clean,’l
and ”environmentally-friendly" and described and branded the engine as an ”EcoDiesel"
engine

89. Plaintiff and class members reasonably relied on FCA and Bosch's false
representations regarding the environmentally-friendly, low-emissions, and high-
performance nature of the ”EcoDiesel" vehicles when deciding to purchase these vehicles or
accept them as trade-ins for resale Plaintiff and class members had no way of knowing that
FCA and Bosch's representations were false and misleading Because of FCA and Bosch's
efforts to conceal the true nature of the Affected Vehicles Plaintiff and class members did not,
and could not, discover FCA and Bosch's deception on their own

90. FCA and Bosch's false representations were material to consumers not only
With respect to the quality of the Affected Vehicles (including their compliance with
applicable federal and state laws and regulations regarding clean air and emissions), but also
because FCA and Bosch's representations regarding the quality of the Affected Vehicles
significantly impacted their value FCA and Bosch were aware that their consumers as well
as Plaintiff and class members paid a premium for these vehicles based on FCA and Bosch's
representations regarding their quality.

91. FCA and Bosch had a duty to disclose the truth about the defeat device installed
in the Affected Vehicles to potential and actual consumers as well as to the EPA and other
regulators because this information was known only to FCA and Bosch and because FCA
and Bosch knew that consumers and regulators could not otherwise discover this

information FCA and Bosch breached this duty in order to profit at the expense of Plaintiff,

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 28 of 34

the other class members consumers and the public, who were also put at risk from the
elevated emissions levels

92. FCA and Bosch have likely still not made full and adequate disclosures
regarding the nature of the Affected Vehicles and the installed defeat devices Accordingly,
FCA and Bosch likely continue to defraud Plaintiff and class members as well as consumers
by concealing material information regarding the Affected Vehicles the defeat device and
FCA and Bosch's deception scheme

93. Plaintiff and class members were not aware and could not have been aware of
the material facts omitted and concealed by FCA and Bosch. Had Plaintiff and the other class
members known the true nature of FCA and Bosch's ”EcoDiesel” vehicles they would not
have purchased the ”EcoDiesel" vehicles or offered them for resale would not have paid as
much as they did for those ”EcoDiesel" vehicles and / or would have taken other affirmative
steps upon considering the information that was Wrongfully concealed from them.

94. As a result of FCA and Bosch concealed and suppressed these material facts
Plaintiff and class members have sustained substantial damages Because of PCA and Bosch's
concealment of the true nature of the Affected Vehicles’ emissions, as well as FCA’s failure to
timely disclose those facts to Plaintiffs and the class members the ”EcoDiesel" vehicles
purchased or accepted as trade-in for resale by the Plaintiff and other class members are now
substantially diminished in value Accordingly, Plaintiff and class members overpaid for the
Affected Vehicles Plaintiff and class members would have paid substantially less for the
Affected Vehicles or would not have acquired them at all, if they had been aware of the
actual nature of the Affected Vehicles and FCA and Bosch's deception

95. As a result of the Affected Vehicles’ diminished value Plaintiff and other class
members will be unable to re-sell the FCA ”EcoDiesel” vehicles currently in their inventories
or will only be able to do so at a substantially reduced price causing Plaintiff and other class
members lost profits

96. Accordingly, FCA and Bosch are liable to Plaintiff and class members for

damages in an amount to be proven at trial.

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 29 of 34

97. With respect to the conduct described above FCA and Bosch acted wantonly,
maliciously, deliberately, intentionally, and with reckless disregard to the rights of Plaintiff
and the other class members These acts were done with the sole purpose of unjustly
enriching FCA and Bosch at the expense of Plaintiff and class members Accordingly, an
assessment of punitive damages in an amount sufficient to deter such conduct in the future is
warranted This amount is to be determined at trial.

COUNT III
Failure to Recall/Retrofit

98. Plaintiff incorporates by reference all preceding allegations as though fully set
forth herein

99. FCA and Bosch designed, manufactured, marketed, distributed, sold, and
otherwise placed in the stream of U.S. commerce the Affected Vehicles as described above

100. FCA and Bosch knew or should have known that, because of the defeat device
software at the time the Affected Vehicles were placed in the stream of U.S. commerce the
Affected Vehicles would be defective when used by consumers in a reasonably foreseeable
manner.

101. FCA and Bosch failed to recall and repair the Affected Vehicles in a timely
manner. FCA and Bosch further failed to warn consumers or Plaintiff and the class members
of the Affected Vehicles’ defects - namely, the presence of the defeat device software

102. A reasonable vehicle manufacturer in same or similar circumstances would have
timely and properly recalled and repaired the Affected Vehicles FCA and Bosch's failure to
recall the Affected Vehicles was a substantial factor in causing the harm (including the extent
of the harm) to Plaintiff and the class lf the defeat device defect had been timely disclosed
and the Affected Vehicles appropriately recalled in a timely manner, Plaintiff and the class
members would not have purchased the Affected Vehicles for resale Plaintiff and the class

members would have instead invested their money in other vehicles

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 30 of 34

103. Because the Affected Vehicles have not been properly recalled they remain
illegal, defective and virtually unsellable. Plaintiff and other class members have been unable
to resell these vehicles or have only been able to do so at a substantial loss

COUNT IV
Unjust Enrichment (Against All Defendants)

104. Plaintiff incorporates by reference all preceding allegations as though fully set
forth herein

105. FCA and Bosch have benefitted from selling the Affected Vehicles at an unjust
profit The value of the Affected Vehicles was artificially inflated by Defendants'
misrepresentations regarding the emissions, performance and fuel-efficiency of the Affected
Vehicles and their concealment of the defeat device As a result, Plaintiff and class members
have overpaid for the vehicles conferring a benefit on FCA and Bosch.

106. FCA and Bosch have retained this benefit FCA and Bosch know of and
appreciate this benefit They were and continue to be unjustly enriched at the expense of
Plaintiff and class members

107. lt is inequitable and unconscionable for Defendants to retain this benefit
Accordingly, FCA and Bosch should be required to disgorge this unjust enrichment

COUNT V
Breach of Express Warranty (Against All Defendants)

108. Plaintiff incorporates by reference all preceding allegations as though fully set
forth herein

109. FCA and Bosch have expressly warranted that the Affected Vehicles comply
with EPA emission standards as well as other applicable laws and regulations including
CARB and other state emissions standards

110. FCA and Bosch's express warranty that the Affected Vehicles comply with state
and federal emission standards appears on FCA's website advertising materials vehicle

manuals and instructional and other materials

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 31 of 34

111. Plaintiffs and class members reasonably relied on FCA and Bosch's
representations in purchasing or accepting as trade-ins preowned EcoDiesel vehicles for
resale Those vehicles however, do not perform as was warranted

112. Unbeknownst to Plaintiff and the class members those vehicles included defeat
devices that caused their emission reduction systems to perform at worse levels than
advertised Those defeat devices are defects FCA and Bosch affirmatively concealed that
defect from Plaintiff and class members consumers regulators and the general public.
Accordingly, FCA and Bosch breached their express warranty by providing a product
containing defects that were never disclosed to the Plaintiffs and Class members

113. Plaintiff and other class members paid for vehicles that complied with state and
federal emissions standards Because these vehicles do not, in fact, conform to EPA and other
regulatory standards however, Plaintiff and other class members have not obtained the full
value of the vehicles as advertised and promoted lf Plaintiff and other class members had
known the true nature of the Affected Vehicles including the defeat devices they would not
have purchased or otherwise acquired those vehicles for resale

114. As a result of FCA and Bosch's breach of express warranty, Plaintiff and the
class members are entitled to recover compensatory damages declaratory relief, and other
relief as described herein

COUNT VI
Breach of Implied Warranties of Merchantability and Fitness for a Particular Purpose
(Against All Defendants)

115. Plaintiff incorporates by reference all preceding allegations as though fully set
forth herein

116. FCA and Bosch made numerous representations descriptions and promises to
Plaintiff and class members consumers regulators and the general public regarding the
functionality of the Affected Vehicles’ ”clean" diesel technology.

117. Plaintiff and class members reasonably relied on FCA and Bosch's

representations in purchasing or accepting as trade-ins ”EcoDiesel" vehicles for resale

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 32 of 34

118. FCA and Bosch knew that their representations descriptions and promises
regarding the Affected Vehicles were false

119. When Plaintiff and class members purchased FCA’s diesel vehicles the vehicles
did not conform to the promises or affirmations of fact FCA and Bosch made in promotional
materials including that the vehicles were designed to meet EPA and other applicable
regulatory standards lnstead, as alleged above those vehicles were designed to evade those
standards and the vehicles emitted far higher levels of pollution than promised

120. Accordingly, these vehicles failed to conform to FCA and Bosch's implied
warranty regarding their functionality.

121. As a direct and proximate result of FCA and Bosch's false and misleading
representations and warranties Plaintiff and class members suffered substantial injury.
Plaintiff and the class members paid a premium price when purchasing or accepting the
Affected Vehicles as trade-ins Because of FCA and Bosch's conduct, these vehicles are now
worth far less than the price Plaintiff and class members paid Plaintiff and the class
members will now only be able to sell these vehicles for a substantially reduced price if at all.

122. As a result of FCA and Bosch's breach of implied warranty, Plaintiff and the
class members are entitled to recover compensatory damages declaratory relief, and other
relief as described herein

PRAYER FOR RELIEF
Plaintiff, individually and on behalf of all class members respectfully requests that the
Court enter judgment in its favor and against Fiat Chrysler Automobiles N.V., FCA US LLC,
Robert Bosch GmbH, and Robert Bosch LLC as follows:
A. Certification of the proposed class including appointment of Plaintiff’s counsel
as class counsel;
B. An order temporarily and permanently enjoining Fiat Chrysler Automobiles
N.V., FCA US LLC, Robert Bosch GmbH, and Robert Bosch LLC from
continuing the unlawful, deceptive fraudulent, and unfair business practices

alleged in this Complaint,'

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 33 of 34

C. lnjunctive relief in the form of a recall or free replacement program,'

.U

Costs restitution damages and disgorgement in an amount to be determined
at trial;

Other damages as permitted by applicable laws

Pre- and post-judgment interest on any amounts awarded'

Costs and attorneys' fees and

seas

Such other or further relief as may be appropriate

DEMANDFO U Y

  

Plaintiff demands a jury trial
@M‘/?\ 4\<}
By:.R' Edward Ma§ey, Jr (MAssE 4)
DATEDf Mar€h 161 2017 CLAY, MASSEY & ASSOCIATE , .C.
509 Church Street
Mobile, Alabama 36602
251- 433-1000

Stacey Slaughter (pro hac vice to be jiled)
Kaitlyn ]ohnson (pro hac vice to be jiled)
ROBINS KAPLAN LLP

800 LaSalle Avenue

Suite 2800

Minneapolis, MN 55402

612 349 8500

Attorneys for Plaintiff

Case 1:17-cv-00120-KD-C Document 1 Filed 03/17/17 Page 34 of 34

PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL, AS FOLLOWS:

FCA US, LLC

CT Corporation System

2 North Jackson Street, Ste. 605
Montgomery, Alabama 36104

Robert Bosch, LLC
Corporation Service Company
2711 Centerville Road, Ste. 400
Wilmington, DE 19808

 

 

